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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3591
                      Plaintiff,

       v.

NaturalRays-Official and et al.,

                      Defendants.



                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

                    Ceavo                                              56

                   Easkep                                              58

                 Rainmberme                                            36



DATED August 7, 2020                                Respectfully submitted,

                                                    /s/ James A. Karamanis
                                                    James A. Karamanis
                                                    Barney & Karamanis, LLP
                                                    Two Prudential Plaza
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                                        ATTORNEY FOR PLAINTIFF Ouyeinc Ltd.
